Case 3:22-cv-00058-RBM-BLM Document 9 Filed 02/08/22 PageID.131 Page 1 of 3




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  5 DENNIS CRIMMINS
  6
  7
                              UNITED STATES DISTRICT COURT
  8
                         SOUTHERN DISTRICT OF CALIFORNIA
  9
10
      DENNIS CRIMMINS,                          Case No. 3:22-cv-00058-BAS-BLM
11
                 Plaintiff,                     REQUEST FOR DISMISSAL
12                                              WITH PREJUDICE
           vs.
13
   NOURYON SURFACE CHEMISTRY,
14 LLC, a California Limited Liability
   Company; THE CARLYLE GROUP,                  Trial Date:        None Set
15 INC., a California Corporation;
   CHARLIE SHAVER; an Individual; ‘
16 SUZANNE M. CARROLL, an
   Individual; BAHAR AZIMIPOUR, an
17 Individual;’and DOES 1 through 25,
   Inclusive,
18
                Defendant.
19
20         Pursuant to Federal Rule of Civil Procedure 41(a), and subject to the approval
21 and order of the Court as provided below, the undersigned hereby requests the
22 dismissal of Defendants THE CARLYLE GROUP, INC., CHARLIE SHAVER,
23 SUZANNE M. CARROLL, and BAHAR AZIMIPOUR with prejudice, with each
24 party to bear its own attorneys’ fees and costs, and request that the Court enter an
25 Order dismissing these Defendants with prejudice, with each party to bear its own
26 attorneys’ fees and costs.
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                                                               Case No. 3:22-cv-00058-BAS-BLM
                                    REQUEST FOR DISMISSAL
Case 3:22-cv-00058-RBM-BLM Document 9 Filed 02/08/22 PageID.132 Page 2 of 3




  1                                  Respectfully submitted,
  2 DATED: February 4, 2022          CANTOR LAW
  3
  4
                                     By:         /S/ ZACHARY CANTOR
  5
                                           ZACHARY M. CANTOR
  6                                        Attorneys for Plaintiff, DENNIS
  7                                        CRIMMINS

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                                REQUEST FOR DISMISSAL
Case 3:22-cv-00058-RBM-BLM Document 9 Filed 02/08/22 PageID.133 Page 3 of 3




  1
                                           CERTIFICATE OF SERVICE
  2
      I, Zachary Cantor, declare as follows:
  3
      I am over the age of eighteen years and not a party to the case. I am employed in the County of Los
  4   Angeles, California. My business address is: 1112 Montana Avenue, Suite C, Santa Monica, CA
      90403
  5
      On the date below I electronically filed with the Court through its CM/ECF program and served through the
  6   same program the following document(s): REQUEST FOR DISMISSAL WITH PREJUDICE on all
      interested parties, by causing a true copy thereof to be mailed in a sealed envelope with postage thereon
  7   fully prepaid, to the address as follows:
 8 LEWIS BRISBOIS BISGAARD & SMITH LLP
 9 ASHLEIGH     R. KASPER, SB# 294963
    E-Mail: Ashleigh.Kasper@lewisbrisbois.com
10 633 West 5th Street, Suite 4000
   Los Angeles, California 90071
11 Telephone:  213.250.1800
   Facsimile: 213.250.7900
12 Attorneys for Defendants,
13 NOURYON      SURFACE CHEMISTRY,
   LLC, THE CARLYLE GROUP,
14 CHARLIE    SHAVER, SUZANNE M.
   CARROLL and BAHAR AZIMIPOUR
15
      [X]     (ELECTRONICALLY) Pursuant to the CM/ECF System, registration as a CM/ECF user constitutes
16            consent to electronic service through the Court's transmission facilities. The Court’s CM/ECF
              system sends an email notification of the filing to the parties and counsel of record listed above who
17            are registered with the Court's CM/ECF system.
18
      [X]     (FEDERAL) I declare that I am employed in the office of a member of the bar of this court at whose
19            direction the service was made. I declare under penalty of perjury, under the laws of the United
              States of America that the foregoing is true and correct.
20
      I declare under penalty under perjury under the laws of the State of California that the foregoing is true and
21    correct. Executed on June 17, 2021 at Santa Barbara, California.

22
                                                        /s/ Zachary Cantor
23                                                      Zachary Cantor
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                                                            3                      Case No. 3:22-cv-00058-BAS-BLM
                                               REQUEST FOR DISMISSAL
